              4:08-cr-03009-RGK-CRZ            Doc # 293        Filed: 02/13/15      Page 1 of 1 - Page ID # 770

 PROB 35                    Report and Order Terminating Probation/Supervised Release
(Rev. 5/01)                              Prior to Original Expiration Date



                                     UNITED STATES DISTRICT COURT
                                                              FOR THE

                                                   DISTRICT OF NEBRASKA


                 UNITED STATES OF AMERICA

                                v.                                       Crim. No. 04:08CR3009-002
                       William Andre Betts




          On           February 4, 2011            the above named was placed on probation/supervised release for a period of

   5      years. The probationer/supervised releasee has complied with the rules and regulations of probation/supervised

release and is no longer in need of supervision. It is accordingly recommended that the probationer/supervised releasee be

discharged from supervision.



                                                                           Respectfully submitted,



                                                                                              Jennifer Reynolds
                                                                                             U.S. Probation Officer




                                                        ORDER OF COURT
          Pursuant to the above report, it is ordered that the probationer/supervised releasee be discharged from supervision

and that the proceedings in the case be terminated.

          Dated this                      day of          February                       , 20 015         .
                          13



                                                                                s/Richard GGKpf
                                                                                        United States District Judge
